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                                                              6    Glendale, California 91203
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                                                              7
                                                                   Attorneys for Plaintiff
                                                              8
                                                                                         UNITED STATES DISTRICT COURT
                                                              9
                                                                                       EASTERN DISTRICT OF CALIFORNIA
                                                             10
                                                                   BOBBY GRAYSON, III, individually,       Case No.: 1:21-cv-00986-ADA-BAM
                                                             11    and on behalf of other members of the
                                                                   general public similarly situated and   Honorable Barbara A. McAuliffe
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                          410 West Arden Avenue, Suite 203




                                                             12    on behalf of other aggrieved            Department 8
                              Glendale, California 91203




                                                                   employees pursuant to the California
                                                             13    Private Attorneys General Act,          CLASS ACTION
                                                             14                 Plaintiff,                 PLAINTIFF’S NOTICE OF MOTION
                                                                                                           AND MOTION FOR PRELIMINARY
                                                             15          vs.                               APPROVAL OF CLASS ACTION
                                                                                                           SETTLEMENT; MEMORANDUM OF
                                                             16    NUTRIEN, a Colorado corporation;        POINTS AND AUTHORITIES IN
                                                                   NUTRIEN AG SOLUTIONS, INC.,             SUPPORT THEREOF
                                                             17    an unknown business entity;
                                                                   WESTERN FARM SERVICE, INC.,             [Declaration of Proposed Class Counsel
                                                             18    an unknown business entity; and         (Annabel Blanchard); Declaration of
                                                                   DOES 1 through 100, inclusive,          Proposed Class Representative (Bobby
                                                             19                                            Grayson, III); and [Proposed] Order filed
                                                                                Defendants.                concurrently herewith]
                                                             20
                                                                                                           Date:
                                                             21                                            Time:              9:00 a.m.
                                                                                                           Department:        8
                                                             22
                                                                                                           Complaint Filed:   April 2, 2021
                                                             23                                            FAC Filed:         June 1, 2021
                                                                                                           SAC Filed:         August 3, 2021
                                                             24                                            TAC Filed:         October 25, 2021
                                                                                                           Trial Date:        None Set
                                                             25
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                                                                    PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS
                                                                   ACTION SETTLEMENT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
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                                                              1          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                                                              2          PLEASE TAKE NOTICE that on ____________, at _________, or as soon
                                                              3    thereafter as the matter may be heard before the Honorable Barbara A. McAuliffe in
                                                              4    Courtroom 8 of the United States District Court for the Eastern District of California,
                                                              5    located at the Robert E. Coyle Federal Courthouse, 2500 Tulare Street, Room
                                                              6    1501, 6th Floor, Fresno, California 93721, Plaintiff Bobby Grayson, III (“Plaintiff”)
                                                              7    will and hereby does move for an order:
                                                              8          • Granting Plaintiff leave to file the Fourth Amended Class Action
                                                              9              Complaint for Damages & Enforcement Under the Private Attorneys
                                                             10              General Act, California Labor Code § 2698, Et Seq. (“Fourth Amended
                                                             11              Complaint”) which is attached as “EXHIBIT 1” to the [Proposed] Order
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                                                             12              Granting Preliminary Approval of Class Action Settlement (“Proposed
                              Glendale, California 91203




                                                             13              Order”), filed concurrently herewith;
                                                             14          • Granting preliminary approval of the proposed class action settlement
                                                             15              described herein and as set forth in the parties’ Joint Stipulation of Class
                                                             16              Action and PAGA Settlement and Release (“Settlement,” “Agreement,” or
                                                             17              “Settlement Agreement”), attached as “EXHIBIT 1” to the Declaration of
                                                             18              Annabel Blanchard in Support of Plaintiff’s Motion for Preliminary
                                                             19              Approval of Class Action Settlement, including the means of allocation and
                                                             20              distribution of the Maximum Settlement Amount and the Net Settlement
                                                             21              Amount, and the allocations for Attorneys’ Fees and Costs, Enhancement
                                                             22              Payment, PAGA Amount, and Settlement Administration Costs;
                                                             23          • Certifying the proposed Class for settlement purposes only;
                                                             24          • Preliminarily appointing Plaintiff Bobby Grayson, III as Class
                                                             25              Representative;
                                                             26          • Preliminarily appointing Arby Aiwazian, Joanna Ghosh, and Annabel
                                                             27              Blanchard of Lawyers for Justice, PC as Class Counsel;
                                                             28          • Approving the proposed Notice of Class Action Settlement (“Class

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                                                              1             Notice”), attached as “EXHIBIT 2” to the Proposed Order;
                                                              2          • Appointing Phoenix Settlement Administrators as the Settlement
                                                              3             Administrator to handle the notice and administration process for the
                                                              4             Settlement and preliminarily approving Settlement Administration Costs;
                                                              5          • Directing the Settlement Administrator to mail the Class Notice to the
                                                              6             proposed Class;
                                                              7          • Approving the proposed deadlines for the notice and administration
                                                              8             process as reflected herein and in the Settlement Agreement; and
                                                              9          • Scheduling a hearing to consider final approval of the Settlement, at which
                                                             10             time the Court will also consider whether to grant final approval of the
                                                             11             requests for an award of the Attorneys’ Fees and Costs, Enhancement
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                                                             12             Payment, and Settlement Administration Costs.
                              Glendale, California 91203




                                                             13          This motion is based upon the following memorandum of points and
                                                             14    authorities; the Settlement Agreement; the Declaration of Proposed Class Counsel
                                                             15    (Annabel Blanchard) and Proposed Class Representative (Bobby Grayson, III) in
                                                             16    support thereof; as well as the pleadings and other records on file with the Court in
                                                             17    this matter, and such evidence and oral argument as may be presented at the hearing
                                                             18    on this motion.
                                                             19    Dated: July 14, 2023                   LAWYERS for JUSTICE, PC
                                                             20
                                                                                                   By:     /s/ Annabel Blanchard
                                                                                                          __________________________
                                                             21
                                                                                                          Annabel Blanchard
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                                                                                                          Attorneys for Plaintiff
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                                                              1                  MEMORANDUM OF POINTS AND AUTHORITIES
                                                              2    I.    SUMMARY OF MOTION
                                                              3          Plaintiff Bobby Grayson, III (“Plaintiff”) respectfully requests that this Court
                                                              4    grant Plaintiff leave to file a Fourth Amended Class Action Complaint for Damages
                                                              5    & Enforcement Under the Private Attorneys General Act, California Labor Code
                                                              6    § 2698, Et Seq. (“Fourth Amended Complaint” or “Operative Complaint”) and grant
                                                              7    preliminary approval of the Joint Stipulation of Class Action and PAGA Settlement
                                                              8    and Release (“Settlement,” “Agreement,” or “Settlement Agreement”) entered into by
                                                              9    and between Plaintiff, individually and on behalf of the proposed Class, and
                                                             10    Defendant Nutrien AG Solutions, Inc. (“Defendant Nutrien AG”). Subject to Court
                                                             11    approval, Plaintiff and Defendant Nutrien AG have agreed to settle this lawsuit for a
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                                                             12    Maximum Settlement Amount of Four Million Five Hundred Thousand Dollars
                              Glendale, California 91203




                                                             13    ($4,500,000)1 on a non-reversionary basis.
                                                             14          The parties reached the Settlement after engaging in significant informal
                                                             15    discovery, investigations, and arm’s-length negotiations. The Settlement resulted from
                                                             16    a formal mediation conducted by Jeffrey Krivis, Esq., a well-respected mediator who
                                                             17    is experienced in wage-and-hour class actions. The Settlement satisfies the criteria for
                                                             18    approval and falls within the range of possible approval under federal and California
                                                             19    law. Additionally, the proposed Class Notice2 provides the best notice practicable
                                                             20    under the circumstances and will allow each Class Member a full and fair opportunity
                                                             21    to evaluate the Settlement and decide whether to participate in it. Accordingly,
                                                             22
                                                                   1
                                                                     A copy of the fully-executed Settlement Agreement is attached as “EXHIBIT 1” to
                                                             23    the Declaration of Annabel Blanchard in Support of Plaintiff’s Motion For Class
                                                             24    Action Settlement (“Blanchard Decl.”). Settlement Agreement, ¶ 1.v. Defendants
                                                                   represented that, during the period from October 6, 2016 through February 7, 2023,
                                                             25    the Class Members worked, collectively, approximately 266,068 Workweeks. If it
                                                                   is determined that the total number of Workweeks during the period from October
                                                             26    6, 2016 through February 7, 2023 exceeds 266,068 by more than five percent (5%)
                                                                   (i.e., exceeds 279,371), then, the Maximum Settlement Amount will be increased
                                                             27    by 1% for every 1% increase in Workweeks over the 5% threshold. See id., ¶ 39.
                                                             28
                                                                   2
                                                                     The Notice of Class Action Settlement (i.e., Class Notice) is attached as “EXHIBIT
                                                                   2” to the Proposed Order, filed concurrently herewith.
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                                                                    PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS
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                                                              1    Plaintiff moves the Court to grant preliminary approval of the Settlement and the
                                                              2    allocations for Attorneys’ Fees and Costs, Enhancement Payment, and Settlement
                                                              3    Administration Costs; conditionally certify the proposed Class for settlement
                                                              4    purposes; direct distribution of the Class Notice; and set a Final Approval Hearing.
                                                              5    II.    PROCEDURAL HISTORY AND FACTUAL BACKGROUND
                                                              6           Defendants Nutrien, Nutrien AG Solutions, Inc., Western Farm Services, Inc.,
                                                              7    and Crop Production Services, Inc. (collectively, “Defendants”) are providers of crop
                                                              8    inputs and services in the agricultural sector.
                                                              9           On April 2, 2021, Plaintiff filed the Class Action Complaint for Damages
                                                             10    against Defendants Nutrien, Nutrien AG Solutions, Inc., and Western Farm Services,
                                                             11    Inc. in the Superior Court of California for the County of Tulare, Case No.
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                                                             12    VCU286503.
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                                                             13           On March 25, 2021, Plaintiff provided written notice to the Labor and
                                                             14    Workforce Development Agency (“LWDA”) and Defendants Nutrien, Nutrien AG
                                                             15    Solutions, Inc., and Western Farm Services of Plaintiff’s intent to seek civil penalties
                                                             16    for alleged violations of the California Labor Code and Industrial Welfare
                                                             17    Commission Wage Orders (“PAGA Notice”).
                                                             18           On June 1, 2021, Plaintiff filed a First Amended Class Action Complaint for
                                                             19    Damages & Enforcement Under the Private Attorneys General Act, California Labor
                                                             20    Code § 2698, Et. Seq. in the Tulare County Superior Court.
                                                             21           On June 21, 2021, the class action was removed to the United States District
                                                             22    Court for the Eastern District of California (the “Court”).
                                                             23           On August 13, 2021, the Court, pursuant to the Parties’ joint stipulation,
                                                             24    accepted Plaintiff’s Second Amended Class Action Complaint for Damages &
                                                             25    Enforcement Under the Private Attorneys General Act, California Labor Code § 2698,
                                                             26    Et. Seq. for filing.
                                                             27           On October 25, 2021, Plaintiff filed a Third Amended Class Action Complaint
                                                             28    for Damages & Enforcement Under the Private Attorneys General Act, California

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                                                              1    Labor Code § 2698, Et. Seq. (“Third Amended Complaint”)
                                                              2          On December 7, 2021, Plaintiff filed a Motion to Remand Pursuant to 28
                                                              3    U.S.C. § 1447 (“Motion to Remand”). On January 13, 2022 Defendants Nutrien,
                                                              4    Nutrien AG Solutions, Inc., and Western Farm Service, Inc. filed an opposition to
                                                              5    Plaintiff’s Motion to Remand. On January 27, 2022, Plaintiff filed a reply in support
                                                              6    of his Motion to Remand. On February 24, 2023, the Parties filed a Joint Notice of
                                                              7    Settlement and Stipulation to Withdraw Pending Motions. On March 7, 2023, the
                                                              8    Court entered an Order Granting Joint Stipulation to Withdraw Pending Motions,
                                                              9    which ordered Plaintiff’s Motion to Remand withdrawn.
                                                             10          Plaintiff’s core allegations are that Defendants violated the California Labor
                                                             11    Code and California Business and Professions Code by, inter alia, failing to properly
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                                                             12    pay minimum and overtime wages, failing to provide compliant meal and rest periods
                              Glendale, California 91203




                                                             13    or pay associated premiums, failing to timely pay wages during employment and upon
                                                             14    termination and associated waiting time penalties, failing to provide complaint wage
                                                             15    statements, and failing to reimburse necessary business-related expenses. Plaintiff
                                                             16    contends that Defendants’ conduct constitutes unfair business practices and gives rise
                                                             17    to penalties under the Private Attorneys General Act, California Labor Code § 2698,
                                                             18    Et. Seq. (“PAGA”). Plaintiff further alleges that Defendants’ failure to properly
                                                             19    pay all compensation due, arises from, inter alia, Defendants’ practices and
                                                             20    policies which required Class Members to work before clocking in for their shifts
                                                             21    and after clocking out of their shifts. As a result, Plaintiff contends that he and the
                                                             22    Class Members are entitled to, inter alia, unpaid wages, penalties (including and
                                                             23    not limited to, penalties pursuant to PAGA), and attorneys’ fees.
                                                             24          Defendants deny any liability of any kind associated with the claims and
                                                             25    allegations, and further deny that Plaintiff or the Class Members are entitled to any
                                                             26    relief. Defendants also deny that this case is appropriate for class or representative
                                                             27    treatment for any purpose other than the Settlement. Defendants maintain, among
                                                             28    other things, that they have complied with federal and California laws in all respects.

                                                                                                              3
                                                                     PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS
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                                                              1           On February 7, 2021, the parties participated in a private mediation before
                                                              2    Jeffrey Krivis, Esq., a well-respected mediator experienced in handling complex
                                                              3    wage-and-hour matters.     With the aid of the mediator’s evaluations, the parties
                                                              4    reached the Settlement to resolve the above-captioned action (“Action”).
                                                              5    III.   REQUEST FOR LEAVE TO FILE AMENDED COMPLAINT
                                                              6           To effectuate the terms of the Settlement Agreement and intent of the parties,
                                                              7    the parties agree that leave should be granted for Plaintiff to amend the Third
                                                              8    Amended Complaint, by filing the proposed Fourth Amended Complaint. (Settlement
                                                              9    Agreement, ¶ 9.) The Fourth Amended Complaint will plead additional factual
                                                             10    allegations and claims, limit the scope of the Class Members and PAGA Employees
                                                             11    to those covered by the Settlement Agreement, and add Crop Production Services,
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                                                             12    Inc. as a named defendant. As such, Plaintiff respectfully requests leave to file the
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                                                             13    Fourth Amended Complaint so that the terms of the Settlement may be effectuated.
                                                             14    IV.    SUMMARY OF THE SETTLEMENT TERMS
                                                             15           A.    The Class for Settlement Purposes
                                                             16           For settlement purposes only, the Parties agree to class action certification of
                                                             17    the following Class (individually referred to as “Class Members”) consisting of an
                                                             18    estimate of approximately 2,306 individuals:
                                                             19           All current and former non-exempt employees who worked for any of
                                                             20           the Defendants within the State of California at any time during the
                                                                          Class Period. Settlement Agreement, ¶ 6.e.
                                                             21
                                                             22    The period from October 6, 2016 through June 7, 2023 is the “Class Period.”
                                                             23    Settlement Agreement, ¶ 6.g.
                                                             24           As discussed in Section V, infra, conditional class certification is appropriate
                                                             25    with respect to the Settlement.
                                                             26           B.    Essential Terms of the Settlement
                                                             27           Defendant Nutrien AG will pay a Maximum Settlement Amount of Four
                                                             28    Million Five Hundred Thousand Dollars ($4,500,000) on a non-reversionary basis.

                                                                                                              4
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                                                              1    Settlement Agreement, ¶ 6.v.       The Net Settlement Amount means the amount
                                                              2    remaining after deducting the following from the Maximum Settlement Amount: (1)
                                                              3    attorneys’ fees of up to thirty-five percent (35%) of the Maximum Settlement Amount
                                                              4    (i.e., up to $1,575,000 if the Maximum Settlement Amount is $4,500,000) and
                                                              5    reimbursement of litigation costs and expenses of up to Sixteen Thousand Dollars
                                                              6    ($16,000) to Class Counsel (“Attorneys’ Fees and Costs”); (2) Enhancement Payment
                                                              7    of up to Twelve Thousand Five Hundred Dollars ($12,500) to Plaintiff; (3) Five
                                                              8    Hundred Thousand Dollars ($500,000) allocated for the resolution of the claim for
                                                              9    violation of the Private Attorneys General Act of 2004 (“PAGA Amount”); and (4)
                                                             10    Settlement Administration Costs, which are currently estimated not to exceed Twenty
                                                             11    Six Thousand Dollars ($26,000). Id., ¶¶ 6.w, 11, 12, 13 & 14. Assuming the
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                                                             12    allocations towards these payments are awarded in full, the Net Settlement Amount
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                                                             13    that will be available to be allocated to Class Members who do not submit a timely
                                                             14    and valid Request for Exclusion (“Settlement Class Members”) is currently estimated
                                                             15    to be at least Two Million Three Hundred Seventy Thousand Five Hundred Dollars
                                                             16    ($2,370,500). Id., ¶¶ 6.mm & 6.w. The entire Net Settlement Amount will be
                                                             17    distributed to Settlement Class Members based upon their Workweeks (defined infra)
                                                             18    and the entire PAGA Amount will be distributed to the State of California and PAGA
                                                             19    Employees, and no portion of the Maximum Settlement Amount shall revert to
                                                             20    Defendants. Id., ¶¶ 15, 16 & 22.
                                                             21             C.     Calculation of Individual Settlement Shares
                                                             22             The Settlement Administrator shall calculate each Class Member’s estimated
                                                             23    Individual Settlement Share3, as follows:
                                                             24                  After Preliminary Approval, the Settlement Administrator will
                                                                                 divide the estimated Net Settlement Amount by the Workweeks of
                                                             25
                                                                                 all Class Members to yield the “Estimated Workweek Value,” and
                                                             26                  multiply each Class Member’s individual Workweeks by the
                                                             27
                                                                   3
                                                                    Individual Settlement Shares are the pro rata shares from the Net Settlement
                                                             28    Amount that a Class Member may be eligible to receive for the Class Settlement.
                                                                   Settlement Agreement, ¶ 6.t. See id., ¶ 6.i for the definition of Class Settlement.
                                                                                                               5
                                                                        PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS
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                                                              1                  Estimated Workweek Value to yield their estimated Individual
                                                              2                  Settlement Share.4 Settlement Agreement, ¶ 15.a.

                                                              3                  After Final Approval, the Settlement Administrator will divide the
                                                                                 final Net Settlement Amount by the Workweeks of all Settlement
                                                              4                  Class Members to yield the “Final Workweek Value,” and multiply
                                                              5                  each Settlement Class Member’s individual Workweeks by the
                                                                                 Final Workweek Value to yield their Individual Settlement Share.
                                                              6                  Settlement Agreement, ¶ 15.b.
                                                              7             Each Individual Settlement Share will be allocated as twenty percent (20%)
                                                              8    wages and eighty percent (80%) penalties, interest, and non-wage damages. Id., ¶ 27.
                                                              9    The portion allocated to wages will be reported on an IRS Form W-2 and the
                                                             10    portions allocated to penalties, interest, and non-wage damages will be reported on
                                                             11    an IRS Form-1099 (if applicable) by the Settlement Administrator. Ibid. The
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                                                             12    Settlement Administrator will withhold the employee’s share of taxes and
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                                                             13    withholdings with respect to the wages portion of the Individual Settlement Shares,
                                                             14    and issue checks to Settlement Class Members for their Individual Settlement
                                                             15    Payments (i.e., payment of their Individual Settlement Share net of these taxes and
                                                             16    withholdings).       Ibid.   The employers’ share of taxes and contributions in
                                                             17    connection with the wages portion of Individual Settlement Shares (“Employer
                                                             18    Taxes”) shall be paid by Defendant Nutrien AG in addition to the Maximum
                                                             19    Settlement Amount. Id., ¶¶ 6.n & 27.
                                                             20             D.      Calculation of Individual PAGA Payments
                                                             21             The Settlement Administrator shall calculate each PAGA Employee’s
                                                             22    estimated Individual PAGA Payment5 (if he or she is eligible to receive payment
                                                             23    thereof), as follows:
                                                             24                  The Settlement Administrator will divide the PAGA Employee
                                                                                 Amount, i.e., 25% of the PAGA Amount, by the total number of
                                                             25
                                                             26    4
                                                                     Workweeks are defined as the number of weeks each Class Member worked for
                                                                   any of the Defendants as a non-exempt employee in California during the Class
                                                             27    Period. See id., ¶ 6.nn.
                                                                   5
                                                                     Individual PAGA Payments are the pro rata shares of the PAGA Employee
                                                             28    Amount that a PAGA Employee is eligible to receive for the PAGA Settlement.
                                                                   Settlement Agreement, ¶ 6.r. See id., ¶ 6.cc for the definition of PAGA Settlement.
                                                                                                               6
                                                                        PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS
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                                                              1               Workweeks of all PAGA Employees during the PAGA Period to
                                                              2               yield the “PAGA Workweek Value,” and multiply each PAGA
                                                                              Employee’s individual Workweeks during the PAGA Period by the
                                                              3               PAGA Workweek Value to yield their Individual PAGA Payment.
                                                              4               Settlement Agreement, ¶ 16.

                                                              5          E.     Request for Exclusion, Objection, and Workweeks Dispute

                                                              6                 Procedures

                                                              7          Any Class Member wishing to be excluded from the Class Settlement must

                                                              8    submit a written letter (“Request for Exclusion”) to the Settlement Administrator,

                                                              9    by mail, on or before the date that is forty-five (45) calendar days from the initial

                                                             10    mailing of the Class Notice by the Settlement Administrator (“Response

                                                             11    Deadline”. Settlement Agreement, ¶¶ 6.ii, 6.jj, & 23. A Request for Exclusion
                                                                   must: (a) contain the case name and number of the Action; (b) contain the Class
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                                                             13    Member’s full name, signature, address, telephone number, and last four (4)

                                                             14    digits of Social Security Number; (c) contain a clear written statement indicating

                                                             15    that the Class Member seeks exclusion from the Class Settlement; and (d) be

                                                             16    submitted by mail to the Settlement Administrator at the specified address,

                                                             17    postmarked on or before the Response Deadline. Id., ¶ 6.ii.

                                                             18          To object to the Class Settlement, Class Members who have not opted out

                                                             19    of the Class Settlement (i.e., Settlement Class Members) must submit a timely

                                                             20    and complete written objection (“Objection”) to the Settlement Administrator, by

                                                             21    mail, on or before the Response Deadline. Id., ¶¶ 6.x & 24. The Objection must:

                                                             22    (a) contain the case name and number of the Action; (b) contain the Class

                                                             23    Member’s full name, signature, address, telephone number, and last four (4) digits

                                                             24    of Social Security Number; (c) contain a written statement of all grounds for the

                                                             25    objection accompanied by any legal support for such objection; (d) contain copies

                                                             26    of any papers, briefs, or other documents upon which the objection is based; and

                                                             27    (e) be submitted by mail to the Settlement Administrator at the specified address,

                                                             28    postmarked on or before the Response Deadline. Id., ¶ 6.x. Settlement Class
                                                                   Members may also present their objection orally at the Final Approval Hearing,
                                                                                                            7
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                                                              1    irrespective of whether they submit an Objection. Id., ¶ 24.
                                                              2          The Class Notice will include the procedure by which a Class Member may
                                                              3    dispute the number of Workweeks allocated to him or her by submitting a timely
                                                              4    and valid written letter (“Workweeks Dispute”), which must: (a) contain the case
                                                              5    name and number of the Action; (b) contain the Class Member’s full name,
                                                              6    signature, address, telephone number, and last four (4) digits of Social Security
                                                              7    number; (c) clearly state that the Class Member disputes of the number of
                                                              8    Workweeks credited to him or her and what he or she contends is the correct
                                                              9    number to be credited to him or her; (d) attach any documentation that he or she
                                                             10    has to support the dispute; and (e) be submitted by mail to the Settlement
                                                             11    Administrator at the specified address, postmarked on or before the Response
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                                                             12    Deadline. Id., ¶¶ 6.oo & 21.c.
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                                                             13          F.     Scope of the Release
                                                             14          The Released Class Claims that are the subject of the Settlement are:
                                                             15          [A]ll causes of action and factual or legal theories that were alleged in the
                                                                         Operative Complaint or reasonably could have been alleged based on the
                                                             16
                                                                         facts and legal theories contained in the Operative Complaint, for violations
                                                             17          of the California Labor Code, including inter alia sections 201, 202, 203,
                                                                         204, 226(a), 226.7, 246, 510, 512(a), 551, 552, 1174(d), 1194, 1197, 1197.1,
                                                             18
                                                                         1198, 2800 and 2802, and Industrial Welfare Commission Wage Orders,
                                                             19          including inter alia, Wage Orders 1-2001, 7-2001, 8-2001, 13-2001, 14-
                                                                         2001 and 16-2001, including all of the following claims for relief: (a)
                                                             20
                                                                         failure to pay all and overtime wages due; (b) failure to provide proper meal
                                                             21          periods, and to properly provide premium pay in lieu thereof; (c) failure to
                                                                         provide proper rest periods, and to properly provide premium pay in lieu
                                                             22
                                                                         thereof; (d) failure to pay all minimum wages due: (e) failure to pay all
                                                             23          wages timely during employment; (f) failure to pay all wages timely at the
                                                                         time of termination; (g) failure to provide complete, accurate or properly
                                                             24
                                                                         formatted wage statements; (h) failure to provide an employee with written
                                                             25          notice that sets forth the amount of paid sick leave available or paid time off
                                                                         leave an employer provides in lieu of sick leave; (i) failure to keep complete
                                                             26
                                                                         and accurate payroll records; (j) failure to reimburse business expenses; (k)
                                                             27          unfair business practices that could have been premised on the claims,
                                                             28          causes of action or legal theories of relief described above or any of the
                                                                         claims, causes of action, or legal theories of relief pleaded in the Operative
                                                                                                              8
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                                                              1          Complaint; (k) any other claims or penalties under the wage and hour laws
                                                              2          pleaded in the Action; and (l) all damages, penalties, interest, and other
                                                                         amounts recoverable under said claims, causes of action or legal theories of
                                                              3          relief. Id., ¶ 6.ff.
                                                              4          The Released PAGA Claims that are the subject of the Settlement are:
                                                              5          [A]ll causes of action and factual or legal theories for civil penalties under
                                                                         the California Labor Code Private Attorneys General Act of 2004 against
                                                              6          any of the Released Parties that were alleged in the Operative Complaint or
                                                              7          reasonably could have been alleged based on the facts and legal theories
                                                                         contained in the PAGA Notices and Operative Complaint for violations of
                                                              8          the California Labor Code, including inter alia sections 201, 202, 203, 204,
                                                              9          226(a), 226.7, 246, 510, 512(a), 551, 552, 1174(d), 1194, 1197, 1197.1,
                                                                         1198, 2800 and 2802, and Industrial Welfare Commission Wage Orders,
                                                             10          including inter alia, Wage Orders 1-2001, 7-2001, 8-2001, 13-2001, 14-
                                                             11          2001 and 16-2001, including all of the following: (a) failure to pay all and
                                                                         overtime wages due; (b) failure to provide proper meal periods, and to
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                                                             12          properly provide premium pay in lieu thereof; (c) failure to provide proper
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                                                             13          rest periods, and to properly provide premium pay in lieu thereof; (d) failure
                                                                         to pay all minimum wages due: (e) failure to pay all wages timely during
                                                             14          employment; (f) failure to pay all wages timely at the time of termination;
                                                             15          (g) failure to provide complete, accurate or properly formatted wage
                                                                         statements; (h) failure to provide an employee with written notice that sets
                                                             16          forth the amount of paid sick leave available or paid time off leave an
                                                             17          employer provides in lieu of sick leave; (i) failure to keep complete and
                                                                         accurate payroll records; and (j) failure to reimburse business expenses. Id.,
                                                             18          ¶ 6.gg.
                                                             19          The Released Parties are Defendants Nutrien Ltd. (erroneously sued as
                                                             20    Nutrien), Nutrien Ag Solutions, Inc., Western Farm Services, Inc., and Crop
                                                             21    Production Services, Inc. as well as Nutrien US LLC, Agrium U.S., Inc.,
                                                             22    Loveland Products, PCS Administration (USA), and each of their past, present
                                                             23    and/or future, direct and/or indirect, officers, directors, members, managers,
                                                             24    employees, agents, representatives, attorneys, insurers, partners, investors,
                                                             25    shareholders, administrators, parent companies, subsidiaries, affiliates, divisions,
                                                             26    predecessors, successors, assigns, and joint venturers. Id., ¶ 6.hh.
                                                             27
                                                             28

                                                                                                             9
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                                                              1              Upon the Effective Date6 and full funding of the Maximum Settlement
                                                              2    Amount, Plaintiff and all Settlement Class Members, will be deemed to have fully,
                                                              3    finally, and forever released, settled, compromised, relinquished, and discharged
                                                              4    the Released Parties of all Released Class Claims whether known or unknown. Id.,
                                                              5    ¶ 32.a.
                                                              6              Upon of the Effective Date and full funding of the Maximum Settlement
                                                              7    Amount, Plaintiff and the State of California will be deemed to have fully, finally,
                                                              8    and forever released, settled, compromised, relinquished, and discharged the
                                                              9    Released Parties of all Released PAGA Claims whether known or unknown. Id., ¶
                                                             10    32.b.
                                                             11    V.        THE LEGAL STANDARD FOR PRELIMINARY APPROVAL OF THE
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                                                             12              CLASS ACTION SETTLEMENT
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                                                             13              Class action settlements require court approval. Fed. R. Civ. Proc. 23(e).
                                                             14    Although judicial policy favors settlement of class actions, Class Plaintiffs v. City of
                                                             15    Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992), the decision to approve or reject a
                                                             16    settlement is within the trial court’s discretion, and that decision may be reversed only
                                                             17    upon a strong showing of “clear abuse of discretion.” Hanlon v. Chrysler Corp., 150
                                                             18    F.3d 1011, 1026 (9th Cir. 1998); Class Plaintiffs, 955 F.2d at 1276.
                                                             19             A settlement should be approved if it is “fundamentally fair, adequate, and
                                                             20    reasonable.” Hanlon, 150 F.3d at 1026; Fed. R. Civ. P. 23(e). In approving a class
                                                             21    action settlement, Courts engage in a two-step process: (1) preliminary approval of the
                                                             22    settlement; and (2) a later detailed review after notice is given to class members, to
                                                             23    determine whether final approval is appropriate. Nat’l Rural Telecomms. Coop. v.
                                                             24    DIRECTV, Inc., 221 F.R.D. 523, 525 (C.D. Cal. 2004). At the preliminary approval
                                                             25    stage, courts must approve a class action settlement “if it appears to be the product of
                                                             26    serious, informed, non-collusive negotiations, has no obvious deficiencies, and does
                                                             27    not improperly grant preferential treatment to class representatives or segments of the
                                                             28    6
                                                                       See id., ¶ 6.m, for the definition of the “Effective Date.”
                                                                                                                 10
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                                                              1    class, and falls within the range of possible approval.” In re Tableware Antitrust
                                                              2    Litig., 484 F. Supp. 2d 1078, 1079 (N.D. Cal. 2007).
                                                              3          In evaluating the fairness of the class action settlement, courts should give
                                                              4    “proper deference to the private consensual decision of the parties.” Hanlon, 150 F.3d
                                                              5    at 1027. Courts need only ensure that the settlement is not a product of “fraud or
                                                              6    overreaching by, or collusion between, the negotiating parties, and that the settlement,
                                                              7    taken as a whole, is fair, reasonable, and adequate to all concerned.” Id.
                                                              8    VI.   THE SETTLEMENT SHOULD BE PRELIMINARILY APPROVED
                                                              9          Preliminary approval is appropriate if the settlement is “potentially fair,”
                                                             10    Acosta v. Trans Union, LLC, 243 F.R.D. 377, 386 (C.D. Cal. 2007), and has no
                                                             11    “glaring deficiencies” that would make it clear that a final approval hearing is not
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                                                             12    warranted. Murillo v. Pac. Gas & Elec. Co., 266 F.R.D. 468, 478 (E.D. Cal. Mar. 4,
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                                                             13    2010). As discussed below, the Settlement resulted from hard-fought litigation and
                                                             14    extensive negotiations, and is fair and reasonable. Therefore, the Settlement should be
                                                             15    preliminarily approved.
                                                             16          A.     The Settlement Resulted from Arm’s Length Negotiations and
                                                             17                 Extensive Investigation and Discovery
                                                             18          An initial presumption of fairness exists “if the settlement is recommended by
                                                             19    class counsel after arm’s-length bargaining.” Harris v. Vector Mktg. Corp., No. 08-
                                                             20    cv-5198-EMC, 2011 WL 1627973, at *8 (N.D. Cal. Apr. 29, 2011) (citation omitted).
                                                             21    Courts give great weight to such recommendation as class counsel is most familiar
                                                             22    with the issues underlying the case. Nat’l Rural, 221 F.R.D. at 528.
                                                             23          Here, the parties actively litigated this case since it was commenced on April 2,
                                                             24    2021. Class Counsel conducted a thorough investigation into the facts and
                                                             25    circumstances of the case and diligently investigated the allegations in this lawsuit.
                                                             26    Declaration of Annabel Blanchard in Support of Plaintiff’s Motion for Preliminary
                                                             27    Approval of Class Action Settlement (“Blanchard Decl.”), ¶¶ 11-13. Class Counsel
                                                             28    reviewed a volume of documents and data obtained from Defendants, Plaintiff, and

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                                                              1    other sources, including and not limited to, Plaintiff’s employment records, a
                                                              2    detailed sampling of Class Members’ pay and time data, Crop Production Services,
                                                              3    Inc.’s Employee Handbook, Nutrien AG Solutions, Inc.’s Employee Handbook,
                                                              4    Defendants’ operations and employment practices, procedures, and policies
                                                              5    (including, but not limited to, Defendants’ Rest and Meal Breaks Policy, Waiver of
                                                              6    Meal Periods Policy, On-Duty Meal Period Policy, Cell Phone Reimbursement for
                                                              7    Business Use of Personal Cellular Devices Policy, Employee Classification Policy,
                                                              8    and Time Card Reporting Policy), acknowledgements and agreements (including,
                                                              9    but not limited to, Defendants’ Employee Acknowledgement of Receipt of Policy
                                                             10    Regarding Meal and Rest Periods, On-Duty Meal Period Agreement, and On-Duty
                                                             11    Meal Period Agreement Revocation), forms (including, but not limited to,
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                                                             12    Defendants’ Consent to Waive Meal Periods), among other information and
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                                                             13    documents. Ibid. The parties also met and conferred on numerous occasions over
                                                             14    issues relating to the pleadings, jurisdiction, motion practice, and the production of
                                                             15    documents and data prior to mediation. Id., ¶ 12.
                                                             16          The parties reached the Settlement after reviewing all available evidence,
                                                             17    arm’s-length bargaining, and participating in mediation conducted by Jeffrey Krivis,
                                                             18    Esq., a well-respected mediator experienced in handling complex wage-and-hour
                                                             19    matters. Id., ¶ 11. During the mediation, the parties exchanged information and
                                                             20    discussed various aspects of the case, including and not limited to, Plaintiff’s claims,
                                                             21    the risks and delays of further litigation and of proceeding with certification and/or
                                                             22    representative adjudication, the law relating to off-the-clock theory, meal and rest
                                                             23    periods, wage-and-hour enforcement, and PAGA representative claims, the evidence
                                                             24    produced and analyzed, and the possibility of appeals, among other things. Ibid.
                                                             25          During all settlement discussions, the parties conducted their negotiations at
                                                             26    arm’s length from an adversarial position. Ibid. Arriving at a settlement that was
                                                             27    acceptable to both parties was not easy. With the aid of the mediator’s evaluations,
                                                             28    the parties agreed that this case was well-suited for settlement given the legal issues

                                                                                                             12
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                                                              1    relating to the claims, as well as the costs and risks to both sides that would attend
                                                              2    further litigation. Id., ¶¶ 11 & 18. The Settlement takes into account the strengths and
                                                              3    weaknesses of each side’s position and the uncertainty of how the case might have
                                                              4    concluded at certification, trial, and/or appeals. Id., ¶¶ 10, 12, 18, & 21.
                                                              5           The Settlement is based on this large volume of facts, evidence, and
                                                              6    investigation, and the parties’ negotiations during the mediation.7 While the parties
                                                              7    disagree over the merits and certifiability of Plaintiff’s claims, Plaintiff and Class
                                                              8    Counsel agree that the Settlement is fair, reasonable, adequate, and in the best interest
                                                              9    of the Class, State of California, and PAGA Employees, in light of all known facts
                                                             10    and circumstances. Id., ¶¶ 11, 13, & 21.
                                                             11           B.     The Settlement Is Fair, Reasonable, and Adequate
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                                                             12           The Maximum Settlement Amount of Four Million Five Hundred Thousand
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                                                             13    Dollars ($4,500,000) represents a fair, reasonable, and adequate resolution of this
                                                             14    lawsuit. Under the Settlement, the entire Net Settlement Amount will be distributed
                                                             15    to Settlement Class Members and is currently estimated to be at least Two Million
                                                             16    Three Hundred Seventy Thousand Five Hundred Dollars ($2,370,500). Also, under
                                                             17    the Settlement, the amount of Five Hundred Thousand Dollars ($500,000) is allocated
                                                             18    to resolution of the Released PAGA Claims, of which $375,000 will be distributed to
                                                             19    the LWDA (i.e., the LWDA Payment) and $125,000 will be distributed to PAGA
                                                             20    Employees (i.e., the PAGA Employee Amount). The amount of the Settlement is
                                                             21    reasonable considering the risks relating to certification, liability, and the ability to
                                                             22    recover monetary relief on a class-wide or representative basis. Id., ¶¶ 11, 13, 18, &
                                                             23    21. Additionally, the Settlement guarantees a certain monetary recovery to Settlement
                                                             24    Class Members in a reasonably short period of time, as opposed to waiting additional
                                                             25
                                                                   7
                                                                     See Hanlon, 150 F.3d at 1027 (affirming approval of settlement after finding “no
                                                             26    evidence to suggest that the settlement was negotiated in haste or in the absence of
                                                                   information illuminating the value of plaintiffs’ claims”); see also Villegas v. J.P.
                                                             27    Morgan Chase & Co., No. CV 09-00261 SBA (EMC), 2012 WL 5878390, at *6
                                                             28    (N.D. Cal. Nov. 21, 2012) (stating that participation in private mediation “tends to
                                                                   support the conclusion that the settlement process was not collusive”).
                                                                                                               13
                                                                     PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS
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                                                              1    years for the same, or possibly, no recovery.
                                                              2            The Settlement was calculated using data and information obtained through
                                                              3    case investigation, Defendants’ removal papers, and informal exchange of information
                                                              4    in advance of and/or in the context of mediation and settlement negotiations. Id., ¶¶
                                                              5    11 & 12. Prior to the mediation, Class Counsel conducted extensive investigation into
                                                              6    the claims. Id., ¶¶ 11, 12, 13, 16, & 18. The data and information obtained enabled
                                                              7    Class Counsel to calculate the value of the claims and the monetary recovery that
                                                              8    could potentially be obtained, and permitted a complete understanding of Defendants’
                                                              9    employment policies, practices, and procedures.         Id., ¶¶ 12, 16, & 18.       This
                                                             10    information proved invaluable in negotiating a settlement amount that provides fair,
                                                             11    adequate, and reasonable payment for the resolution of the class and PAGA claims.
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                                                             12    Id., ¶ 21.
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                                                             13            The parties have also considered the potential risks and rewards inherent in any
                                                             14    case and, in particular, with this case. Id., ¶¶ 11, 17, 18, 19, 21. Prior to the
                                                             15    mediation, Class Counsel performed extensive damages and valuation analysis based
                                                             16    on class data and a sampling of data provided by Defendants. Id., ¶¶ 12 & 18. During
                                                             17    the mediation, Defendants contended, among other things, that their policies and
                                                             18    practices fully complied with California law. Id., ¶¶ 11 & 18.
                                                             19            Plaintiff faces numerous risks in continued litigation, including and not limited
                                                             20    to, the risk of receiving no recovery if a class is not certified and/or no liability is
                                                             21    found and the Court determining that adjudication on a representative or class basis is
                                                             22    unmanageable and not appropriate. Id., ¶¶ 13, 17, 18, & 21. Plaintiff also faces the
                                                             23    real possibility that the amount recovered against Defendants after years of litigation
                                                             24    and a lengthy and costly trial is less than the amount negotiated in this Settlement.
                                                             25    Ibid.
                                                             26            Additionally, the Settlement is fair because it poses no risk of unequal
                                                             27    treatment of any Class Member. Individual Settlement Shares will be calculated
                                                             28    based upon each Class Member’s Workweeks during the Class Period. Settlement

                                                                                                              14
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                                                              1    Agreement, ¶ 15. Individual PAGA Payments will be calculated based upon each
                                                              2    PAGA Employee’s Workweeks during the PAGA Period. Settlement Agreement, ¶
                                                              3    16.
                                                              4          There is no reason to doubt the fairness of the proposed plan of allocation of the
                                                              5    settlement funds for purposes of preliminary approval. Even at the final approval
                                                              6    stage: “an allocation formula need only have a reasonable, rational basis, particularly
                                                              7    if recommended by experienced and competent class counsel.” Nguyen v. Radient
                                                              8    Pharm. Corp., No. 11-cv-00406, 2014 WL 1802293, at *5 (C.D. Cal. May 6, 2014);
                                                              9    see also Maley v. Del Global Techs. Corp., 186 F. Supp. 2d 358, 367 (S.D.N.Y.
                                                             10    2002). Considering the facts in this case, the amount of the Settlement represents a
                                                             11    fair, reasonable, and adequate recovery for the Class, State of California, and PAGA
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                                                             12    Employees. Blanchard Decl., ¶¶ 11, 13, 18 & 21.
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                                                             13          C.     The Settlement Is of Significant Value and Within the Range of
                                                             14                 Approval
                                                             15          The Maximum Settlement Amount of Four Million Five Hundred Thousand
                                                             16    Dollars ($4,500,000) provides substantial monetary recovery to the Class Members,
                                                             17    State of California, and PAGA Employees, and is fair, reasonable, and adequate in
                                                             18    light of the value of the claims and the significant risks of continued litigation.
                                                             19    Similarly, all of the other Settlement terms for which Plaintiff requests approval
                                                             20    and/or preliminary approval fall within the range of reasonableness, as discussed
                                                             21    below.
                                                             22                 1.     The allocation for the Enhancement Payment is reasonable.
                                                             23          Subject to Court approval, Plaintiff will receive an Enhancement Payment of
                                                             24    Twelve Thousand Five Hundred Dollars ($12,500). Settlement Agreement, ¶ 12. The
                                                             25    Enhancement Payment will be paid in addition to Plaintiff’s Individual Settlement
                                                             26    Payment and Individual PAGA Payment. Ibid.
                                                             27
                                                             28

                                                                                                             15
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                                                              1           The trial court has discretion to award incentives to the class representatives.8
                                                              2    Courts routinely approve incentive awards to class representatives for their time and
                                                              3    efforts, and the risks they undertake on behalf of the class. See, e.g., Staton v. Boeing,
                                                              4    327 F.3d 938, 976-78 (9th Cir. 2003) (discussing cases approving incentive awards in
                                                              5    the range of $2,000 to $25,000). “Incentive awards are particularly appropriate in
                                                              6    wage-and-hour actions” because named plaintiffs bear “a significant reputational risk
                                                              7    for bringing suit against their former employers.” Bellinghausen v. Tractor Supply
                                                              8    Co., 306 F.R.D. 245, 267 (N.D. Cal. Mar. 19, 2015) (quotation marks omitted).
                                                              9           Here, the contemplated Enhancement Payment is fair and appropriate and is
                                                             10    well within the range of incentive payments awarded by district courts. See id.; Angell
                                                             11    v. City of Oakland, 13 cv-00190 NC, 2015 WL 65501, at *8 (N.D. Cal. Jan. 5, 2015)
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                                                             12    (approving $9,000 incentive awards); Covillo, 2014 WL 954516, at *8 (approving an
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                                                             13    $8,000 incentive award).
                                                             14           Plaintiff spent considerable time and effort to produce relevant documents and
                                                             15    past employment records and provide the facts and evidence necessary to support the
                                                             16    allegations. Blanchard Decl., ¶ 12; Declaration of Bobby Grayson, III in Support of
                                                             17    Plaintiff’s Motion for Preliminary Approval of Class Action Settlement (“Grayson
                                                             18    Decl.”), ¶¶ 3-5. Plaintiff was available whenever his counsel needed him and tried to
                                                             19    obtain and provide documents and information that would facilitate the pursuit of the
                                                             20    class and PAGA claims. Grayson Decl., ¶¶ 3-5. Accordingly, it is appropriate and
                                                             21    just for Plaintiff to receive a reasonable enhancement payment for his services on
                                                             22
                                                                   8
                                                                     See In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454, 463 (9th Cir. 2000). In
                                                             23    assessing the reasonableness of an incentive award, several district courts in the Ninth
                                                             24    Circuit have considered the factors set forth in Van Vranken v. Atl. Richfield Co., 901
                                                                   F. Supp. 294, 299 (N.D. Cal. 1995): (1) the risk to the class representative in
                                                             25    commencing a class action; (2) the notoriety and personal difficulties encountered by
                                                                   the class representative; (3) the amount of time and effort spent by the class
                                                             26    representative; (4) the duration of the litigation; and (5) the personal benefit, or lack
                                                                   thereof, enjoyed by the class representative as a result of the litigation. See, e.g., In re
                                                             27    Toys “R” Us-Del., Inc. FACTA Litig., 295 F.R.D. 438, 470 (C.D. Cal. 2014); Covillo
                                                             28    v. Specialty’s Café, No. C-11-00594 DMR, 2014 WL 954516, at *7 (N.D. Cal. Mar.
                                                                   6, 2014); Carr v. Tadin, Inc., 51 F. Supp. 3d 970, 986 (S.D. Cal. 2014).
                                                                                                               16
                                                                     PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS
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                                                              1    behalf of the Class, State of California, and PAGA Employees.
                                                              2                  2.    The allocations for the Attorneys’ Fees and Costs are reasonable.
                                                              3             The Settlement establishes a Maximum Settlement Amount of Four Million
                                                              4    Five Hundred Thousand Dollars ($4,500,000) and provides for Class Counsel to apply
                                                              5    for attorneys’ fees in an amount of up to thirty-five percent (35%) of the Maximum
                                                              6    Settlement Amount. Settlement Agreement, ¶ 11. Class Counsel will bring an
                                                              7    appropriate motion in advance of the Final Approval Hearing pursuant to Rule 23(h),
                                                              8    and submit supporting evidence and documents.
                                                              9             Under California and Ninth Circuit precedent, a court has discretion to
                                                             10    determine attorneys’ fees using either the lodestar method or the percentage-of-the-
                                                             11    fund method.9 District courts may adjust the twenty-five percent (25%) benchmark
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                                                             12    (observed by the Ninth Circuit) upward or downward if “the percentage recovery
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                                                             13    would be either too small or large in light of the hours devoted to the case or other
                                                             14    relevant factors.” Six (6) Mexican Workers v. Ariz. Citrus Growers, 904 F.2d 1301,
                                                             15    1311 (9th Cir. 1990); Staton, 327 F.3d at 968; Vizcaino, 290 F.3d at 1048. If a
                                                             16    proposed class action settlement includes an award of attorneys’ fees, courts must
                                                             17    evaluate that fee award on a case-by-case basis in the overall context of the settlement,
                                                             18    and an award above the twenty-five percent (25%) benchmark may be warranted.10
                                                             19    In California, attorneys’ fees tend to be awarded above the twenty-five percent (25%)
                                                             20
                                                             21    9
                                                                      It is appropriate to calculate and award attorneys’ fees as a percentage of a
                                                                   monetary funds that has, by litigation, been preserved or recovered for the benefit
                                                             22    of others. Laffitte v. Robert Half Int’l, Inc. 1 Cal.5th 480, 486 & 506 (2016);
                                                                   Wershba v. Apple Computer, Inc., 91 Cal.App.4th 224, 253 (2001); Vizcaino v.
                                                             23    Microsoft Corp., 290 F.3d 1043 (9th Cir. 2002); In re Bluetooth Headset Prods. Liab.
                                                             24    Litig., 654 F.3d 935, 942 (9th Cir. 2011). The percentage method is based on the
                                                                   amount of total recovery, as opposed to the total amount of claims made, and is well
                                                             25    established in federal courts and the Ninth Circuit. Boeing v. Van Gemert, 444 U.S.
                                                                   472, 478 (1980); In re Hill, 775 F.2d 1037 (9th Cir. 1985); Williams v. MGM-Pathe
                                                             26    Commc’n Co., 129 F.3d 1026 (9th Cir. 1997); In re Agent Orange Prod. Liabiltiy
                                                                   Litig., 818 F.2d 226, 232 (2d Cir. 1987).
                                                             27    10
                                                                      Knisley v. Network Assocs., 312 F.3d 1123, 1126 (9th Cir. 2002); Vizcaino, 290 F.3d
                                                             28    at 1048; Knight v. Red Door Salons, Inc., 2009 WL 248367, at *6 (N.D. Cal. Feb. 2,
                                                                   2009).
                                                                                                              17
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                                                              1    federal benchmark. See Van Vranken, 901 F.Supp. at 297 (holding that fee awards of
                                                              2    30-50% are more typical where the fund is less than $10 million); Craft v. City. of San
                                                              3    Bernardino, 624 F.Supp.2d 1123, 1127 (C.D. Cal. 2008) (holding that attorneys’ fees
                                                              4    in cases where the fund is below $10 million are often more than 25%). Moreover,
                                                              5    “awards in the Central District are in the 20% to 50% range.” Clayton v. Knight
                                                              6    Transp., 2013 WL 5877213, at *23 (E.D. Cal. Oct. 30, 2013).11
                                                              7          The goal is to award “reasonable compensation for creating a common fund.”
                                                              8    Paul, Johnson, Alston & Hunt v. Graulty, 886 F.2d 268, 272 (9th Cir. 1989). In
                                                              9    reviewing a fee award request, courts consider the following factors: (1) the results
                                                             10    achieved; (2) whether there are benefits to the class beyond the immediate generation
                                                             11    of a cash fund; (3) the risks of litigation; (4) the skill required of counsel and quality
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                                                             12    of the work performed; (5) the contingent nature of the fee and the foregoing by
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                                                             13    counsel of other work; and (6) the reactions of the class. Vizcaino, 290 F.3d at 1048-
                                                             14    50; In re Toyota Motor Corp., 2013 WL 3224585 (C.D. Cal. June 17, 2013). Of these
                                                             15    factors, the most significant factor is the “degree of success obtained.” Hensley v.
                                                             16    Eckerhart, 461 U.S. 424, 436 (1983).
                                                             17          Here, the attorneys’ fee award provided for by the Settlement is reasonable,
                                                             18    particularly in light of the time and effort expended by Class Counsel. Class Counsel
                                                             19    litigated this case for over two (2) years, with the possibility of an unsuccessful
                                                             20    outcome and no fee recovery of any kind. Blanchard Decl., ¶ 11. The ongoing work
                                                             21    has been demanding and ultimately successful in achieving a substantial settlement.
                                                             22    Given the strengths and weaknesses of the claims and the risk and expense of further
                                                             23    11
                                                                     Other districts usually award attorneys’ fees in the 30-40% range in wage-and-hour
                                                             24    class actions that result in recovery of a common fund under $10 million. See Vasquez
                                                                   v. Coast Valley Roofing, Inc., 266 F.R.D. 482, 491-92 (E.D. Cal. 2010) (citing recent
                                                             25    wage-and-hour class actions where district courts approved attorneys’ fee awards
                                                                   ranging from 30-33%); Singer v. Becton Dickinson and Co., 2010 WL 2196104, *8
                                                             26    (S.D. Cal. June 1, 2010) (approving attorneys’ fees of one-third of the common fund
                                                                   and holding that the award was similar to awards in other wage-and-hour class actions
                                                             27    where fees ranged from 30.3-40%); Romero v. Producers Dairy Foods, Inc., 2007
                                                             28    WL 3492841 (E.D. Cal. Nov. 14, 2007) (recognizing that “fee awards in class actions
                                                                   average around one-third” of the settlement).
                                                                                                              18
                                                                     PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS
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                                                              1    litigation, Class Counsel has achieved an excellent result in this lawsuit. Considering
                                                              2    the amount of the fees to be requested, the work performed, and the risks incurred, the
                                                              3    allocations for Class Counsel Award provided for by the Settlement are reasonable
                                                              4    and should be awarded. See Vizcaino, 290 F.3d at 1051.
                                                              5    VII. CERTIFICATION OF THE PROPOSED CLASS IS APPROPRIATE
                                                              6          UNDER RULE 23
                                                              7          Class certification under Rule 23(a) is appropriate where the plaintiff
                                                              8    demonstrates the four requirements of Rule 23(a) (numerosity, commonality,
                                                              9    typicality, and adequacy of representation), and one of the three requirements of Rule
                                                             10    23(b). Valentino v. Carter-Wallace, Inc., 97 F.3d 1227, 1234 (9th Cir. 1996). The
                                                             11    proposed Class meets all of these requirements.
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                                                             12          A.     Numerosity
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                                                             13          A class is sufficiently numerous if it is “so large that joinder of all members is
                                                             14    impracticable.” Fed. R. Civ. P. 23(a)(1). A reasonable estimate of the number of
                                                             15    purported class members is sufficient to meet the numerosity requirement.” In re
                                                             16    Badger Mountain Irr. Dist. Sec. Litig., 143 F.R.D. 693, 696 (W.D. Wash. 1992).
                                                             17          The proposed Class consists of approximately 2,306 individuals. Blanchard
                                                             18    Decl., ¶ 9. The proposed Class is sufficiently numerous, and joinder of all Class
                                                             19    Members would be impractical. See Mazza v. Am. Honda Motor Co., 254 F.R.D. 610,
                                                             20    617 (C.D. Cal. 2008), rev’d on other grounds, 666 F.581, 593 (9th Cir. 2012) (“As a
                                                             21    general rule, classes of forty or more are considered sufficiently numerous.”).
                                                             22          B.     Commonality
                                                             23          A settlement class has sufficient commonality “if there are questions of fact and
                                                             24    law which are common to the class.” Fed. R. Civ. P. 23(a)(2). An affirmative
                                                             25    showing of at least one common question of law or fact satisfies this requirement.12
                                                             26    Commonality has been found to exists when there is a common legal issue stemming
                                                             27
                                                             28    12
                                                                     Dukes v. Wal–Mart, Inc., 564 U.S. 338, 350 & 359 (2011); see also Hanlon, 150
                                                                   F.3d at 1019 (“All questions of fact and law need not be common to satisfy the rule.”).
                                                                                                              19
                                                                     PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS
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                                                              1    from divergent factual predicates or a common nucleus of facts leading to different
                                                              2    legal remedies. Hanlon, 150 F.3d at 1019.
                                                              3          Courts generally find commonality where “the lawsuit challenges a system-
                                                              4    wide practice or policy that affects all of the putative class members[]” and divergent
                                                              5    ways in which these practices affect individual Class Members, if any, do not
                                                              6    undermine the finding of commonality.13 Here, the Class Members seek remedies
                                                              7    under California’s wage-and-hour laws for violations arising from common, uniform,
                                                              8    and systematic practices which applied to all Class Members during the Settlement
                                                              9    Class Period. See e.g., Blanchard Decl., ¶¶ 16 & 18. Accordingly, the commonality
                                                             10    requirement is satisfied for settlement purposes.
                                                             11          C.     Typicality
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                                                             12          The typicality requirement is satisfied where “the cause of the injury is the
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                                                             13    same,” as here, and the injury claimed by the named plaintiffs are “similar” to that of
                                                             14    unnamed class members. Armstrong, 275 F.3d at 868-69. They need not be
                                                             15    “identical.” Id. at 869. Here, Plaintiff’s claims are typical of those of the Class
                                                             16    Members, though some factual differences may exist among them, as the claims arise
                                                             17    from the same events or course of conduct and are based upon the same legal theories.
                                                             18    Given the structure of the Settlement, the proposed Class satisfies the typicality
                                                             19    requirement for settlement purposes as Plaintiff’s claims arise from the same factual
                                                             20    basis and are based on the same legal theories as those applicable to all other Class
                                                             21    Members. Welmer v. Syntex, 117 F.R.D. 641, 644 (N.D. Cal. 1987).
                                                             22          D.     Adequacy of Representation
                                                             23          Rule 23(a)(4) requires that: (1) Class Representatives fairly and adequately
                                                             24    protect the interests of the class, and (2) Class Counsel be qualified and competent to
                                                             25    conduct the litigation. In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454, 462 (9th Cir.
                                                             26    2000). The requirement “tends to merge with the commonality and typicality criteria
                                                             27    13
                                                                     Armstrong v. Davis, 275 F.3d 849, 868 (9th Cir. 2001), abrogated on other grounds
                                                             28    by Johnson v. California, 543 U.S. 499, 504-05 (2005); Blackie v. Barrack, 524 F.2d
                                                                   891, 902 (9th Cir. 1975), cert denied, 429 U.S. 816 (1976).
                                                                                                               20
                                                                     PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS
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                                                              1    of Rule 23(a).” 14 The inquiry turns on whether “the named plaintiffs and their
                                                              2    counsel have any conflicts of interest with other class members” and “whether the
                                                              3    named plaintiffs and their counsel [will] prosecute the action vigorously on behalf of
                                                              4    the class.” Hanlon, 150 F.3d at 1020.
                                                              5                 1.     Appointment of Class Representative.
                                                              6          Plaintiff meets the requirements under Federal Rule of Civil Procedure
                                                              7    23(a)(4), for appointment to represent the Class. Plaintiff’s claims are typical of and
                                                              8    align with those of Class Members, which are confined to a limited group of
                                                              9    similarly-situated employees who worked for Defendants within the State of
                                                             10    California during the Class Period. Also, Plaintiff spent considerable time and effort
                                                             11    to produce relevant documents and past employment records and provide the facts and
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                                                             12    evidence necessary to support the allegations. Blanchard Decl., ¶ 12; Grayson Decl.,
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                                                             13    ¶¶ 3-5. Plaintiff was available whenever his counsel needed him and tried to obtain
                                                             14    and provide documents and information that would facilitate the pursuit of the class
                                                             15    and PAGA claims. Grayson Decl., ¶¶ 3-5. As such, Plaintiff has demonstrated that
                                                             16    he has and will continue to fairly and adequately represent the Class, and appointment
                                                             17    of Plaintiff as Class Representative is appropriate.
                                                             18                 2.     Appointment of Class Counsel.
                                                             19          Class Counsel meet the requirements under Federal Rule of Civil Procedure
                                                             20    23(g), for appointment to represent the Class. Class Counsel are highly experienced
                                                             21    in employment class action and complex wage-and-hour litigation, having handled
                                                             22    many cases before and having been appointed class counsel in many other cases.
                                                             23    Blanchard Decl., ¶¶ 2-7. Class Counsel’s experience in litigating similar matters was
                                                             24    integral to obtaining the Settlement. Class Counsel conducted extensive research,
                                                             25    investigation, and analysis of the potential value of the claims. Blanchard Decl., ¶¶ 11
                                                             26    & 18. Class Counsel have committed and continue to commit significant financial
                                                             27
                                                             28    14
                                                                     Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 626 n.20 (1997); see also Manual
                                                                   for Complex Litig., Fourth Ed. § 21.132 (“a settlement class must be cohesive”).
                                                                                                              21
                                                                     PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS
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                                                              1    and staffing resources to the pursuit of the Action. As such, appointment of Arby
                                                              2    Aiwazian, Joanna Ghosh, and Annabel Blanchard of Lawyers for Justice, PC as Class
                                                              3    Counsel is appropriate.
                                                              4          E.     Predominance and Superiority
                                                              5          The proposed Class meets the requirements of Rule 23(b)(3) for settlement
                                                              6    purposes because: (1) common questions predominate over questions that affect
                                                              7    individual members and (2) class resolution is superior to other available means of
                                                              8    adjudication. When assessing predominance and superiority, a court may consider
                                                              9    that the proposed class will be certified for settlement purposes only. See Amchem
                                                             10    Prods., 521 U.S. at 618-20.       Where the matter is being settled, a showing of
                                                             11    manageability at trial is unnecessary. Id. at 620. At this stage, the relevant inquiry is
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                                                             12    “whether the proposed classes are sufficiently cohesive to warrant adjudication by
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                                                             13    representation.” Id. at 618-20, 623; see also Hanlon, 150 F.3d at 1022.
                                                             14          Here, the proposed Class is sufficiently cohesive to warrant certification. For
                                                             15    settlement purposes, common questions of fact and law affecting Class Members
                                                             16    predominate over any questions that may affect only individual members.
                                                             17    For example, Defendants’ alleged failure to properly pay their employees for all hours
                                                             18    worked and provide compliant meal and rest periods are alleged to arise from
                                                             19    Defendants’ uniform policies, practices, and procedures. As such, the questions of
                                                             20    fact and law relating to these issues predominate.
                                                             21          Moreover, a class resolution is superior to other available means for the fair and
                                                             22    efficient adjudication of the controversy. See Hanlon, 150 F.3d at 1023.
                                                             23    The superiority requirement involves a “comparative evaluation of alternative
                                                             24    mechanism of dispute resolution.” Id. Here, the alternative method of resolution is
                                                             25    individual claims, subject to proof, for relatively small amounts of damages, which
                                                             26    would be uneconomical for potential plaintiffs. Therefore, a class resolution is
                                                             27    superior to any other available methods.
                                                             28    ///

                                                                                                              22
                                                                     PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS
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                                                              1    VIII. ADEQUACY OF THE METHOD OF NOTICE
                                                              2             “Adequate notice is critical to court approval of a class settlement under Rule
                                                              3    23(e).” Hanlon, 150 F.3d at 1025. A class notice must be “the best notice that is
                                                              4    practicable under the circumstances, including individual notice to all members who
                                                              5    can be identified through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B). A class
                                                              6    notice is adequate if it “generally describes the terms of the settlement in sufficient
                                                              7    detail to alert those with adverse viewpoints to investigate and to come forward and be
                                                              8    heard.” Churchill Vill. LLC v. Gen. Elec., 361 F.3d 566, 575 (9th Cir. 2004). The
                                                              9    notice must also be “neutral and objective in tone and should neither promote nor
                                                             10    discourage the assertion of claims.” Schaefer v. Overland Express Family of Funds,
                                                             11    169 F.R.D. 124, 131 (S.D. Cal. 1996).
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                                                             12             Here, the proposed Class Notice provides the best notice practicable and is
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                                                             13    adequate.      It provides information on, inter alia, the nature of the Action, the
                                                             14    definition of the Class, the terms of the Settlement, the scope of the Released Class
                                                             15    Claims and Released PAGA Claims, the binding effect of the Settlement, and the
                                                             16    allocations for the Attorneys’ Fees and Costs, Enhancement Payment, PAGA
                                                             17    Amount, and Settlement Administration Costs. Each Class Member’s Class Notice
                                                             18    will state his or her number of Workweeks, estimated Individual Settlement Share,
                                                             19    and estimated Individual PAGA Payment (if applicable).              The Class Notice
                                                             20    summarizes the proceedings and provides the date, time, and place of the Final
                                                             21    Approval Hearing, and all of this information is “clearly and concisely state[d] in
                                                             22    plain, easily understood language.” Fed. R. Civ. P. 23(c)(2)(B).
                                                             23             All Class Members can and will be identified by Defendants through a review
                                                             24    of their records. After receiving the Class List from Defendant Nutrien AG, the
                                                             25    Settlement Administrator will update the addresses using the U.S. Postal Service’s
                                                             26    National Change of Address Database and mail a Class Notice to each Class Member.
                                                             27    Settlement Agreement, ¶ 21.15 Accordingly, the proposed Class Notice is adequate
                                                             28
                                                                   15
                                                                        See Elsen v. Carlisle & Jacqueline, 417 U.S. 156, 175-77 (1974) (Individual notice
                                                                                                                                              (Footnote continued)
                                                                                                               23
                                                                     PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS
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                                                              1    and is the best notice practicable under Rule 23(c)(2)(B).
                                                              2          The Class Notice also fulfills the requirement of neutrality in class notices. The
                                                              3    Class Notice provides a brief, neutral explanation of the case from the perspective of
                                                              4    both parties and recognizes that the Court has not yet granted final approval of the
                                                              5    Settlement.16 The Class Notice sets forth in an accurate and informative manner the
                                                              6    procedures and deadlines governing the submission of Requests for Exclusion,
                                                              7    Objections, and Workweeks Disputes. The proposed Class Notice satisfies all due
                                                              8    process requirements and complies with the standards of fairness, completeness, and
                                                              9    neutrality. Accordingly, the Court should approve the proposed Class Notice.
                                                             10    IX.   APPOINTMENT OF PHOENIX SETTLEMENT ADMINISTRATORS
                                                             11          AS THE SETTLEMENT ADMINISTRATOR
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                          410 West Arden Avenue, Suite 203




                                                             12          The parties have selected Phoenix Settlement Administrators (“Phoenix”) as
                              Glendale, California 91203




                                                             13    the Settlement Administrator to handle the notice and administration of the
                                                             14    Settlement. Phoenix will mail a Class Notice in English and Spanish to each Class
                                                             15    Member; receive, review, and process Requests for Exclusion, Objections, and
                                                             16    Workweeks Disputes; calculate estimated Individual Settlement Shares, Individual
                                                             17    Settlement Payment, and Individual PAGA Payments; withhold applicable taxes and
                                                             18    withholdings; prepare and transmit necessary tax documentation and filings; and
                                                             19    transmit all required payments. Settlement Agreement, ¶ 13. Phoenix will also handle
                                                             20    inquiries from Class Members regarding the Settlement and perform any other usual
                                                             21    and customary duties for administering a class action settlement.
                                                             22          Settlement Administration Costs are currently estimated not to exceed Twenty-
                                                             23    Six Thousand Dollars ($26,000) and will be paid out of the Maximum Settlement
                                                             24    Amount subject to approval by the Court. Plaintiff respectfully requests that the Court
                                                             25
                                                             26    by mail “is clearly the ‘best notice practicable’ within the meaning of Rule 23(c)(2)”
                                                                   where “all class members [] can be identified with reasonable effort”).
                                                             27    16
                                                                      See Hoffmann-La Roche Inc. v. Sperling, 493 U.S. 165, 174 (1989) (“[C]ourts must
                                                                   be scrupulous to respect judicial neutrality” in overseeing the class action notice
                                                             28    process and “avoid even the appearance of judicial endorsement of the merits of the
                                                                   action[.]”).
                                                                                                             24
                                                                     PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS
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                                                              1    appoint Phoenix as the Settlement Administrator and direct distribution of the Class
                                                              2    Notice in the manner and in accordance with the proposed schedule, set forth in the
                                                              3    Settlement Agreement and discussed in Section VIII, infra.
                                                              4    X.    DEADLINES FOR NOTICE AND ADMINISTRATION
                                                              5                 a.    The Court is respectfully requested to approve the proposed
                                                              6    deadlines for the notice and settlement administration process. Within twenty-one
                                                              7    (21) calendar days following the date of entry of the Court order granting preliminary
                                                              8    approval of the Settlement, Defendant Nutrien AG will provide the Settlement
                                                              9    Administrator a list of the following information for each Class Member: each Class
                                                             10    Member’s last-known full name, mailing address, telephone number, Social Security
                                                             11    number, dates employed as a non-exempt employee of Defendants in California
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                                                             12    during the Class Period, and such other information as is necessary for the Settlement
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                                                             13    Administrator to calculate Workweeks (collectively, “Class List”).         Settlement
                                                             14    Agreement, ¶¶ 6.d & 20. Within fourteen (14) calendar days after receiving the Class
                                                             15    List, the Settlement Administrator will perform a search based on the National
                                                             16    Change of Address Database or any other similar services available, such as provided
                                                             17    by Experian, for information to update and correct for any known or identifiable
                                                             18    address changes, and will mail a Class Notice in English and Spanish to each Class
                                                             19    Member.     Id., ¶ 21.a.   With respect to Class Notices that are returned as
                                                             20    undeliverable on or before the Response Deadline, the Settlement Administrator
                                                             21    will search for an alternate address by way of skip-trace and re-mail the Class
                                                             22    Notice within five (5) calendar days.         Id., ¶ 21.b.   Requests for Exclusion,
                                                             23    Objections, and Workweeks Disputes must be mailed to the Settlement Administrator,
                                                             24    postmarked on or before the Response Deadline. Id., ¶¶ 21.c, 23, & 24.
                                                             25          All Individual Settlement Payment and Individual PAGA Payment checks will
                                                             26    remain valid and negotiable for one hundred eighty (180) calendar days from the date
                                                             27    the checks are issued, and thereafter, shall be cancelled. Id., ¶ 22. All funds
                                                             28    remaining in the Qualified Settlement Fund in connection with cancelled checks

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                                                              1    shall be distributed to the Controller of the State of California to be held pursuant
                                                              2    to the Unclaimed Property Law, California Civil Code § 1500 et seq., for the
                                                              3    benefit of those Settlement Class Members and/or PAGA Employees who did not
                                                              4    cash, deposit, or otherwise negotiate their checks until such time that they claim
                                                              5    their property. Ibid.
                                                              6    XI.   CONCLUSION
                                                              7          For the foregoing reasons, Plaintiff respectfully requests that the Court grant
                                                              8    leave to file the Fourth Amended Complaint; grant preliminary approval of the
                                                              9    Settlement; certify the proposed Class for settlement purposes; appoint Arby
                                                             10    Aiwazian, Joanna Ghosh, and Annabel Blanchard of Lawyers for Justice, PC as Class
                                                             11    Counsel; preliminarily approve the allocations for the Attorneys’ Fees and Costs,
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                                                             12    Enhancement Payment, PAGA Amount, and Settlement Administration Costs;
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                                                             13    appoint Plaintiff as the Class Representative; appoint Phoenix as the Settlement
                                                             14    Administrator; approve and direct the mailing of the Class Notice to the Class; and
                                                             15    schedule a Final Approval Hearing in approximately six (6) months.
                                                             16    Dated: July 14, 2023                          LAWYERS for JUSTICE, PC
                                                             17                                           By:    _______________________________
                                                                                                                  /s/ Annabel Blanchard
                                                             18                                                  Annabel Blanchard
                                                                                                                 Attorneys for Plaintiff
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                                                                     PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS
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